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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION

                                    §
  TARA FOGLEMAN-LAXEY,              §
                                    §       CIVIL ACTION NO. 6:21-CV-03038
        Plaintiff,                  §
                                    §
  v.                                §       CHIEF JUDGE S. MAURICE HICKS, JR.
                                    §
  MAYOR GUILLORY, MAYOR-PRESIDENT §
  OF THE CITY OF LAFAYETTE;         §       MAGISTRATE JUDGE PATRICK J. HANNA
  LAFAYETTE CITY-PARISH             §
  CONSOLIDATED GOVERNMENT; SCOTT §
  MORGAN, INTERIM POLICE CHIEF OF   §       JURY TRIAL REQUESTED
  THE LAFAYETTE POLICE DEPARTMENT; §
  MARK GARBER, SHERIFF OF LAFAYETTE §
  PARISH; DONALD LANDRY, DISTRICT   §
  ATTORNEY FOR THE 15TH JUDICIAL    §
  DISTRICT OF LOUISIANA; LIEUTENANT §
  LISA CARSTENS; and POLICE         §
  OFFICER DOES 1 THROUGH 10,        §
                                    §
       Defendants.                      §




     PLAINTIFF’S LIMITED OBJECTION TO MAGISTRATE JUDGE PATRICK J.
                 HANNA’S REPORT AND RECOMMENDATIONS
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             NOW INTO COURT, through undersigned counsel, comes Plaintiff Tara Fogleman-

  Laxey, who files this Memorandum in Support of Plaintiff’s Limited Objection to Magistrate

  Judge Patrick J. Hanna’s Report and Recommendation (the “Report”) (Dkt. No. 72). She

  incorporates by reference her Omnibus Memorandum in Opposition to Motions to Dismiss Filed

  by Donald Landry and Lisa Carstens (“Opposition to MTD”) (Dkt. No. 52-1). For the reasons

  stated herein, the Court should decline to adopt the Report’s granting of (1) District Attorney

  Donald Landry’s (“DA Landry”)1 motion to dismiss all federal and state claims against him in his

  individual and official capacities, including those for which the court exercises supplemental

  jurisdiction, and (2) Lieutenant Lisa Carstens’ (“Lt. Carstens”) motion to dismiss all claims

  brought against her.2 Ms. Fogleman-Laxey does not object to the Report’s Heck v. Humphrey’s

  ruling, certification of the constitutional question, or the order to amend the complaint.

                                                  I. INTRODUCTION
             This case centers on the defendants’ abuse of their authority to punish Ms. Fogleman-

  Laxey for exercising her federal and state constitutional rights—including her right to free speech,

  to peacefully assemble, to petition her government, and to be free from unlawful search and

  seizure. On August 29, 2020, Ms. Fogleman-Laxey chose, as countless Americans have before

  her, to engage in a peaceful barbeque protest (“BBQ Protest”) on a wide open public road, near

  the home of her elected official, Joshua Guillory, the Mayor-President (“Mayor”) of the City-

  Parish of Lafayette, Louisiana. As a punishment for engaging in this constitutionally protected

  activity, the Mayor, along with the other Defendants, including Lt. Carstens and DA Landry,

  usurped and abused their authority by arresting Ms. Fogleman-Laxey without probable cause and

  subjecting her to a humiliating, painful, and unjustified detention followed by a prosecution on



  1
      This includes sections II.B. III.A-.B, and III.D-.G of the Report.
  2
      This includes sections II.B, IV.A, and IV.F of the Report.


                                                                1
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  trumped-up charges. Ms. Fogleman-Laxey’s ordeal is detailed in her 66-page First Amended

  Complaint (“FAC”) (containing numerous well-pleaded allegations, pictures, and videos) and the

  Opposition to the MTD.

         The Report discounts the FAC’s allegations and concludes that Ms. Fogleman-Laxey’s

  claims against Lt. Carstens should be dismissed based on qualified immunity and those against

  DA Landry should be dismissed based on absolute immunity and Monell. In so doing, the Report

  errs in four fundamental ways. First, the Report breaks the motion to dismiss rule requiring courts

  to consider only those facts alleged in the complaint, which must be taken as true and viewed in a

  light most favorable to the plaintiff. For example, in describing the BBQ Protest, the Report ignores

  the FAC’s allegations—supported by photos and video, showing that the BBQ was peaceful, never

  noisy, and never radical—in order to conclude, based on evidence introduced by DA Landry, that

  the BBQ Protest was “something quite different” than a peaceful protest. Other violations of the

  motion to dismiss rule permeate the Report. Thus, because the Report did not correctly apply the

  motion to dismiss rule, this Court should not adopt its decisions on the points challenged by Ms.

  Fogleman-Laxey.

         Second, the Report wrongfully concludes that, even without a law prohibiting targeted

  residential picketing, the First Amendment never protects residential picketing directed at a public

  official’s home. The Report’s broad pronouncement on this point is directly at odds with binding

  precedent from the U.S. Supreme Court and Fifth Circuit holding the exact opposite: absent a

  narrowly-tailored time, place, and manner law prohibiting residential picketing, the right to protest

  on a public street in a residential neighborhood and in the front of a public official’s home is fully

  protected by the First Amendment. See, e.g., Carey v. Brown, 447 U.S. 455, 460-61 (1980); Turner

  v. Lieutenant Driver, 848 F.3d 678, 690 n.50 (5th Cir. 2017). As such, the Report’s conclusion




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  otherwise and the dismissal of the First and Fourteenth Amendment claims against Lt. Carstens

  and DA Landry should not be adopted.

         Third, the Report erred in finding no constitutional violation of clearly established law

  despite the lack of probable cause to arrest Ms. Fogleman-Laxey for obstructing a public passage

  and disturbing the peace (a Fourth Amendment violation), and for conducting such an arrest in

  retaliation for her BBQ Protest (a First Amendment violation). As to the former, under binding

  precedent, an arrest without probable cause violates clearly established law defining an

  individual’s rights under the Fourth Amendment. Here, there was no probable cause to arrest Ms.

  Fogleman-Laxey for obstructing a public passage because, among other things, there was no actual

  obstruction of the road. Similarly, there was no probable cause to arrest her for disturbing the peace

  because, among other things, the protest was undisputedly peaceful and was not noisy or radical.

  As to the latter, under binding precedent, the right to be free from retaliatory arrest for exercising

  protected speech is also clearly established. Here, Ms. Fogleman-Laxey was arrested because she

  was engaged in First Amendment protected speech near the Mayor’s home. As such, the Report’s

  finding that Lt. Carstens is entitled to qualified immunity and the dismissal of the claims against

  Lt. Carstens should not be adopted.

         Fourth, the Report incorrectly dismissed the claims against DA Landry in his personal

  capacity based on absolute prosecutorial immunity. DA Landry, however, is not entitled to

  absolute immunity because he usurped the City-Parish prosecutor’s authority when he acted

  outside of established procedures in prosecuting Ms. Fogleman-Laxey in the 15th Judicial District

  Court. In addition, the Report erred in recommending the dismissal of Monell claims against the

  DA’s Office because the FAC has sufficiently plead the necessary elements for municipal liability:

  First and Fourth Amendment violations, DA Landry’s position as the final policymaker instituting




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  the single decision to prosecute Ms. Fogleman-Laxey as retaliation for the exercising of her First

  Amendment rights, as well as the de facto policy and custom of arrests and prosecutions made

  without probable cause and in retaliation for the exercise of free speech. As such, the Report’s

  dismissal of the claims against DA Landry should not be adopted.

                                       II. LEGAL ANALYSIS

  A.     THE REPORT FUNDAMENTALLY ERRED BY DEVIATING FROM THE
         APPROPRIATE STANDARD OF REVIEW FOR RULE 12(B)(6) MOTIONS.

         Rule 12(b)(6) motions to dismiss are “viewed with disfavor and are rarely granted.”

  Lormand v. U.S. Unwired, Inc., 565 F.3d 228, 231 (5th Cir. 2009) (emphasis added). “To survive

  a motion to dismiss, a complaint must contain sufficient factual matter, accepted as true, to state a

  claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal

  quotations omitted). “[F]acial plausibility” exists “when the plaintiff pleads factual content that

  allows the court to draw the reasonable inference that the defendant is liable for the misconduct

  alleged.” Id. at 678. When conducting its inquiry, a court must accept all well-pleaded factual

  allegations as true and view each of the facts “in the light most favorable to the plaintiff.” Bustos

  v. Martini Club Inc., 599 F.3d 458, 461 (5th Cir. 2010) (emphasis added).

         Applying this liberal pleading standard to § 1983 claims, a plaintiff must plead “two—and

  only two—allegations”: “First, the plaintiff must allege that some person has deprived [her] of a

  federal right. Second, [she] must allege that the person who has deprived [her] of that right acted

  under color of state or territorial law.” Arnold v. Williams, 979 F. 3d 262, 266 (5th Cir. 2020)

  (quoting Gomez v. Toledo, 446 U.S. 635, 640 (1980)).

         Ms. Fogleman-Laxey’s 66-page FAC meets this liberal pleading standard. Yet, in direct

  contradiction to the rules governing Rule 12(b) motions, the Report relies on facts not alleged in

  the FAC (many of which directly contradict the allegations in the FAC), views the pleaded and



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  non-pleaded facts in the light most favorable to defendants, and ignores or brushes aside key facts

  from the FAC. Thus, the Report ignores the facts as alleged in the FAC—which must be taken as

  true at the motion to dismiss stage. Attached as Appendix A is a table addressing the disparities

  between each fact alleged in the FAC and the Report’s view of the alleged facts.

           The Report’s violations of the legal standard abound. One such error is its description of

  the BBQ Protest. In the FAC, Ms. Fogleman-Laxey alleges, with corroborating video and

  photographic evidence, that her BBQ Protest on a public road was peaceful, never noisy, and never

  radical. (FAC ¶ 45). The BBQ Protest’s purpose was to start a dialogue with the Mayor about

  issues directly affecting the Lafayette community. (Id. ¶ 39) From its inception to the time until

  after Ms. Fogleman-Laxey was arrested, the BBQ Protest included at most three people, including

  Ms. Fogleman-Laxey. (Id. ¶ 47) In fact, as alleged in the FAC, during many points of the BBQ

  Protest, the protestors were outnumbered by police officers and the Mayor’s private security. (Id.

  at 19)

           Despite these facts, the Report rejects Ms. Fogelman-Laxey’s allegation that her BBQ

  Protest was, in fact, peaceful. (Report at 28). It does so even though no party disputes the peaceful

  nature of the BBQ Protest. (See generally Dkt. Nos. 40-1, 41-1). Nevertheless, by relying on a fact

  introduced by DA Landry—i.e., the desire to make the Mayor “uncomfortable”—the Report recast

  the BBQ Protest as “something quite different” than a peaceful protest. (Report at 28-30). In five

  separate places, and contrary to the allegations in the FAC that the BBQ Protest’s purpose was to

  initiate a dialogue with the Mayor about issues affecting racial justice and Lafayette, the Report

  recasts the purpose as to make that Mayor uncomfortable. (Compare FAC ¶¶ 39, 45 with Report

  at 3, 19, 28, 29, and 39). In doing so, the Report ignores the numerous allegations, photos, and

  video evidence showing that Ms. Fogleman-Laxey not only stated she came “in peace,” sought to




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  “handle things in peace,” and was not there to “be radical or noisy,” but also acted in accordance

  with those statements. (See, e.g., FAC ¶¶ 5, 45).

         The Report also adds two new facts absent from the FAC: that the Mayor’s family was in

  the home at the time of BBQ Protest and that they were “disturbed” by the BBQ Protest’s “noise

  or exclamation in their presence and hearing with the intent of annoying them.” (Report at 30).

  These new facts are directly rebutted by the FAC where Ms. Fogleman-Laxey alleges she did not

  know the Mayor’s family was in the home at the time of BBQ Protest and never sought to target

  them in any way—and also alleges, with video evidence support, that the protest was peaceful, not

  noisy, and not radical. (FAC ¶¶ 45, 60).

         The Report also relies on purported “facts” that directly contradict the FAC. For example,

  the Report claims that the police officers at the BBQ Protest were confronted with a gathering of

  16-20 on-scene protestors and onlookers, (Report at 4), while the FAC alleges that only three

  protestors were present at the time Ms. Fogleman-Laxey was arrested. (FAC ¶ 47). And, in at least

  two different places, the Report asserts that Ms. Fogleman-Laxey refused to stop the protest at the

  request of officers, (Report at 30, 38-39), but that is not so. After Lt. Carstens agreed that Ms.

  Fogleman-Laxey was not breaking any laws, Ms. Fogleman-Laxey nevertheless agreed to move

  her BBQ pit to several other locations, including the back of her truck, sidewalk, median, and grass

  (FAC ¶ 51; FB Live Video at 13:00 and 14:15-14:55). After refusing to allow her to move her

  BBQ pit, Lt. Carstens placed Ms. Fogleman-Laxey under arrest. (Id. ¶¶ 51-52).

         The Report also relies on irrelevant and separate “current events widely reported in the

  news media at the time” to ignore the facts of the BBQ Protest, as alleged in the FAC. (Report at

  28). For example, the Report compares the BBQ Protest to “nationwide” protests of “varying




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  degrees of unrest and even violence against people and property.”3 (Id.) “Facts” derived from

  protests that occurred in other places, at other times, and with other protestors most certainly falls

  outside the facts in the FAC and have no place in considering motions to dismiss. Moreover, no

  party in this case argues that Ms. Fogleman-Laxey’s BBQ Protest was violent or amounted to civil

  unrest. (See generally Dkt. Nos. 40-1, 41-1). And, no party disputes that the BBQ was peaceful.

  (Id.).

           The Report’s errors in describing the BBQ Protest are but some of the numerous times the

  Report improperly rejected Ms. Fogleman-Laxey’s allegations in favor of non-pleaded or distorted

  facts. Each of these errors, individually and combined, affected the Report’s view of the case and

  legal analysis. The Report’s rejection of Ms. Fogleman-Laxey’s allegations in favor of non-

  pleaded and distorted facts fundamentally undermined the required inquiry at the motion to dismiss

  stage. The standard of review is highly important at this stage, where the task is not to find facts

  and weigh the evidence, or even to predict who is likely to prevail. Instead, the pleadings stage is

  only intended to determine whether there is a plausible claim for relief. That standard was not

  correctly applied here in the Report.

  B.       THE REPORT ERRED BY CONCLUDING THAT THE BBQ PROTEST WAS
           NOT PROTECTED UNDER THE FIRST AMENDMENT AND THE LOUISIANA
           CONSTITUTION BECAUSE THERE IS NO LOUISIANA LAW AT ISSUE THAT
           RESTRICTS RESIDENTIAL PICKETING.

           The Report concludes that the First Amendment never protects targeted residential

  picketing directed at a public official’s home, regardless of whether there is a law prohibiting said

  speech.4 (Report at 19-20). After doing so, the Report dismisses Ms. Fogleman-Laxey’s claims


  3
    The Report erred by considering news media reporting of violent protests not alleged in the FAC. And even if they
  could be considered, the Report further erred by giving weight to those external circumstances, weighing the evidence
  as a fact finder, and presuming (without supporting evidence) the impact these events had on officers in this case.
  4
    The Report also highlights Ms. Fogleman-Laxey’s purported desire to make the Mayor uncomfortable as support for
  its position. (Report at 19). But that purported desire, even if true, is inconsequential—“speech cannot be restricted
  simply because it is upsetting or arouses contempt.” Snyder v. Phelps, 562 U.S. 443, 458 (2011).


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  against DA Landry and Lt. Carstens under the First and Fourteenth Amendment5 of the United

  States Constitution and Article I, Sections 7 and 9 of the Louisiana Constitution. (Id. at 20).

  Because the Report’s conclusions are contrary to binding precedent, they must be rejected.

          As a starting point, the Report’s premise is fundamentally flawed—a person’s First

  Amendment rights in public places “necessarily remain[] unfettered unless and until a reasonable

  restriction is imposed or in place.” Turner v. Lieutenant Driver, 848 F.3d 678, 690 n.50 (5th Cir.

  2017) (emphasis added) (internal quotations omitted); see also Dean v. Byerley, 354 F.3d 540, 551

  (6th Cir. 2004) (concluding “the First Amendment protects the right to engage in peaceful targeted

  residential picketing in the absence of a narrowly tailored time, place, or manner regulation”);

  United States v. Grace, 461 U.S. 171, 177 (1983) (explaining the government can only restrict free

  speech in public streets through reasonable, time, place, and manner regulations); N.A.A.C.P. v.

  Claiborne Hardware Co., 458 U.S. 886, 915 n.49 (1982) (explaining First Amendment rights are

  undisturbed when there are no narrowly tailored statutes restricting the protected activity);

  Herndon v. Lowry, 301 U.S. 242, 259 (1937) (holding a person can exercise his First Amendment

  rights “unless in so doing he violated some prohibition of a valid statute”).

          Here, because it is undisputed that no law restricted protesting in front of the Mayor’s home

  or in a residential neighborhood, (Report at 18), the only question is whether Ms. Fogleman-

  Laxey’s BBQ Protest constitutes First Amendment protected activity. Under binding precedent,

  the BBQ Protest was “entitled to ‘special protection’ under the First Amendment” because it

  occurred in “a public place on a matter of public concern,” Snyder, 562 U.S. at 458—namely, the

  police shooting of Mr. Pellerin, police accountability, and racial justice, (FAC ¶¶ 39, 55). See



  5
   The Fourteenth Amendment’s due process clause incorporates the First and Fourth Amendments of the U.S.
  Constitution as applicable against states. See Mapp v. Ohio, 367 U.S. 643 (1961) (incorporating Fourth Amendment);
  Gitlow v. New York, 268 U.S. 652 (1925) (incorporating First Amendment).


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  Carey, 447 U.S. at 460 (holding that picketing in front of mayor’s home on issues of school busing

  and racial integration “falls within the First Amendment’s preserve”); Frisby v. Schultz, 487 U.S.

  474, 479 (1988) (explaining that an “antipicketing ordinance operates at the core of the First

  Amendment by prohibiting appellees from engaging in picketing on an issue of public concern”).

           The fact that the BBQ Protest took place in a residential neighborhood and was directed

  towards the Mayor does not revoke the protection afforded by the First Amendment. Here, we

  need look no further than Carey, a case the Report relied on to support its conclusion that the BBQ

  Protest was not protected by the First Amendment.6 In Carey, 14 people picketed on a public

  sidewalk in front of the home of Chicago’s mayor to protest school busing and racial integration

  of schools. Brown v. Scott, 602 F.2d 791, 792 (7th Cir. 1979), aff'd sub nom. Carey, 447 U.S. 455.

  On reviewing the legality of the statute “prohibiting peaceful picketing on the public streets and

  sidewalks in residential neighborhoods,” the U.S. Supreme Court held that the anti-picketing

  statute “regulates expressive conduct that falls within the First Amendment’s preserve.” Carey,

  447 U.S. at 460. The Court then invalidated the anti-picking statute as an unconstitutional

  infringement of the First Amendment because it was not “finely tailored to serve substantial state

  interests” and upheld the right to protest on a public sidewalk in front of the mayor’s home. See

  id. at 461, 470.

           Although the Report discusses and quotes from Carey, the Report’s ultimate holding is

  fundamentally at odds with Carey: Carey holds that residential picketing in front of a public

  official’s home is constitutionally protected under the First and Fourteenth Amendment and cannot

  be restricted without a constitutionally valid law restricting that picketing. See Jamison v. State of

  Texas, 318 U.S. 413, 416 (1943) (“[O]ne who is rightfully on a street which the state has left open


  6
    The Report mentions a case it calls Casey after its discussion of Carey. Plaintiff understands Casey and Carey to be
  the same case.


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  to the public carries with him there as elsewhere the constitutional right to express his views in an

  orderly fashion.”).

          Dean further clarifies that, absent a constitutionally valid law, residential picketing in front

  of a public official’s home is protected by the First Amendment. In Dean, an applicant for the State

  Bar of Michigan and two hired individuals protested on a public street in front of the home of the

  Executive Director of the State Bar to publicize mistreatment by State Bar employees. 354 F.3d at

  544. The Court flatly rejected the Executive Director’s claim, like the Report here, that “targeted

  residential picketing is not constitutionally protected,” holding that “Supreme Court precedent

  makes it clear that citizens have the constitutional right to use streets for assembly and

  communication” and “that right remains unfettered unless and until the government passes

  [appropriate] regulations.” Id. at 550-51 (emphasis added). In other words, “the First Amendment

  protects the right to engage in peaceful targeted residential picketing in the absence of a narrowly

  tailored time, place, or manner regulation.” Id.

          The Report ignores these well-established legal principles and a lack of a law restricting

  residential picketing by relying on a footnote about the admission of evidence during a trial on tort

  liability in Tompkins. This footnote, the Report claims, renders picketing at a specific home “an

  unlawful activity” and not constitutionally protected by the First Amendment.7 (Report at 19

  (quoting Tompkins, 202 F.3d at HN 10, 780 n.4)). But the Report incorrectly reads the Tompkins

  footnote. In that footnote, the Tompkins court explained that, based on Frisby, “marching through

  a neighborhood is protected, but targeting and picketing a specific home is not.” Tompkins,

  202 F.3d at 780 n.4 (citing Frisby, 487 U.S. at 479-488).



  7
    Tort liability is fundamentally different from determination of whether a restriction is allowed under the First
  Amendment. Snyder, 562 U.S. at 457 (2011) (noting anti-picketing funeral statute raises “very different questions
  from the tort verdict at issue in this case”).


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          Tompkins’s explanation of Frisby is only partially accurate—for Frisby made the marching

  versus home distinction while analyzing a city ordinance preventing residential picketing. See

  487 U.S. at 482-83. Without such an ordinance, the First Amendment protects a person’s right to

  protest in front of a residence—even when the owner is not a public official, as was the case in

  Frisby before the ordinance was passed. See id. at 476-77 (explaining that prior to the enforcement

  date of the anti-picketing ordinance on May 21, 1985, protestors “on at least six occasions between

  April 20, 1985, and May 20, 1985, for periods ranging from one to one and a half hours” protested

  outside doctor’s home with groups that “varied from 11 to more than 40” people and no one was

  arrested). Properly understood, the footnote in Tompkins stands only for the proposition that, when

  a municipality passes a narrowly-tailored law banning picketing in front of a home, marching by

  the house is constitutionally protected whereas targeting and picketing at a specific home is not.

  See Snyder, 462 U.S. at 459-60 (explaining that Frisby upheld an “ordinance prohibiting picketing

  ‘before or about’ any individual’s residence”). But that is not the situation in this case, as there

  was no picketing law on the books at the time of the BBQ Protest.

          The Report also incorrectly claims that Tompkins “addressed the concept of targeted

  picketing where there was no ordinance or law banning it.” (Report at 19). In Tompkins, a group

  of anti-abortion protestors picketed outside a doctor’s home every single day “unabated for ten

  months” beginning in October 1992 and ending in July 1993. 202 F.3d at 775; Tompkins v. Cyr,

  995 F. Supp. 664, 672 (N.D. Tex. 1998). While this protest was in the midst of its ten-month run,

  which the Report correctly notes was “far more egregious” than the BBQ Protest, the City of Dallas

  passed a law prohibiting residential picketing.8 Dallas, Texas Code § 31-34 (“Picketing in


  8
   On July 18, 2022 at approximately 10:30 a.m., Kelley Drye & Warren LLP’s librarian called the Dallas City Secretary
  (214-670-3738) to inquire about the date on which Dallas Ordinance 21667 was passed. The Secretary relayed that
  the earliest date she could see for the law was May 12, 1993. She also indicated that the Ordinance may have applied
  earlier than that date, but to conduct that research Plaintiff would need to file an open records request. Given the


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  Residential Areas”). Although the Tompkins court fails to mention this law, it nevertheless was in

  place and applicable at the time of the picketing. Despite this law, the protestors continued

  targeting the doctor’s home for nearly two more months.9 Moreover, in addition to the anti-

  picketing ordinance, a preliminary injunction was issued “limiting the frequency, duration, and

  nature of the picketing at [the doctor’s] home.” Tompkins, 995 F. Supp. at 674. Here, there was no

  law or injunction prohibiting the BBQ Protest.

           In short, because no law prevented Ms. Fogleman-Laxey from protesting on a public street

  near the Mayor’s home, the First Amendment fully protected her BBQ Protest. As such, this Court

  should allow Ms. Fogleman-Laxey’s First and Fourteenth Amendment and Article I, Sections 7

  and 9 claims to proceed.

  C.       THE REPORT ERRED BY CONCLUDING THAT LT. CARSTENS IS
           ENTITLED TO QUALIFIED IMMUNITY BECAUSE MS. FOGLEMAN-LAXEY
           SUFFICIENTLY DEMONSTRATED THE DEPRIVATION OF
           CONSTITUTIONAL RIGHTS AND THESE RIGHTS WERE CLEARLY
           ESTABLISHED AT THE TIME OF SUCH DEPRIVATION.

           The Report concludes that Lt. Carsten is entitled to qualified immunity because there was

  no violation of Ms. Fogleman-Laxey’s First, Fourth, or Fourteenth Amendment rights and, even if

  there were such violations, they were not clearly established at the time of her arrest. (Report at

  38). After doing so, the Report dismisses all federal and state claims against Lt. Carstens. (Id. at

  39). However, the Report’s conclusions are not only contrary to binding precedent, but also

  inconsistent with the alleged facts, which must be taken as true.

           Under the Fifth Circuit standard, government officials are afforded the protection of

  qualified immunity for wrongful acts only when they reasonably could have believed that their


  limited time to file the objection in this case, Plaintiff has not filed said request. If necessary, Ms. Fogleman-Laxey is
  prepared to submit a sworn statement from Kelley Drye & Warren’s attesting to these facts.
  9
    Notably, at no point, either before or after the residential picketing statute was passed, were the protestors arrested
  for residential picketing in from of the doctor’s home. See generally Tompkins, 202 F.3d 770; Tompkins v. Cyr, 995
  F. Supp. 664.


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  conduct was not violating the law. Heaney v. Roberts, 846 F.3d 795, 801 (5th Cir. 2017). To assess

  whether a government official has waived his right to qualified immunity, Courts employ a two-

  prong test: (1) whether the plaintiff has alleged facts sufficient to demonstrate the deprivation of a

  constitutional right, and (2) whether such right was clearly established at the time of the alleged

  deprivation. Turner, 848 F.3d at 685. If both these prongs are satisfied, then qualified immunity

  does not shield the public official.

         1. The allegations in the FAC show that Lt. Carstens arrested Ms. Fogleman-Laxey
            without probable cause in violation of the Fourth Amendment.

         The Fourth Amendment protects against “unreasonable searches and seizures” without

  “probable cause.” U.S. Const. amend. IV. Probable cause for a warrantless arrest exists when the

  facts known to the arresting officer “‘are sufficient to occasion a person of reasonable prudence to

  believe an offense has been committed.’” Evett v. DETNTFF, 330 F.3d 681, 688 (5th Cir. 2003)

  (quoting Bigford v. Taylor, 834 F.2d 1213, 1218 (5th Cir.1988)). Probable cause “is determined

  on the basis of facts available to the officer at the time of the arrest.” Id. When determining whether

  there was probable cause for an arrest, courts “examine the totality of the circumstances.” United

  States v. Powell, 732 F.3d 361, 372 (5th Cir. 2013). But while law enforcement personnel “may

  rely on the totality of facts available to them in establishing probable cause, they also may not

  disregard facts tending to dissipate probable cause.” Evett, 330 F.3d at 668 (cleaned up).

         In the Fifth Circuit, “an arrest without probable cause violates clearly established law

  defining an individual’s rights under the Fourth Amendment.” Davidson v. City of Stafford, Texas,

  848 F. 3d 384, 391 (5th Cir. 2017) (emphasis added). For example, in Davidson, the officers

  violated the protestor’s Fourth Amendment right because there was “no actual probable cause for

  the arrest and the officers were objectively unreasonable in believing that there was probable

  cause” when the protestor did not render the public passageway impassable. Id. at 393. And, the


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  “arrest without probable cause violate[d] clearly established law defining an individual’s rights

  under the Fourth Amendment.” Id. at 391 (emphasis added). In short, when the complaint

  establishes a lack of probable cause for an arrest, the qualified immunity defense is negated. See

  Brian v. Patrick, No. 15-541-JJB-EWD, 2016 WL 394002, at *3 (M.D. La. Feb. 1, 2016).

                   a.      The allegations in the FAC show that Lt. Carstens did not have probable
                           cause to arrest Ms. Fogleman-Laxey for violation of La. R.S 14:100.1
                           because no objectively reasonable officer could have concluded that Ms.
                           Fogleman-Laxey obstructed a public passage.

          Under the obstruction of public passages statue, “no person shall willfully obstruct the free,

  convenient, and normal use of any public sidewalk, street, highway, bridge, alley, road or other

  passageway . . . by impeding, hindering, stifling, retarding, or restraining traffic or passage thereon

  or therein.” La. R.S 14:100.1. Case law discussing this statute makes clear that, in order for

  probable cause to exist for an arrest, there must be some facts alleged to demonstrate a willful

  physical obstruction of vehicular or pedestrian traffic. See, e.g., State v. Leban, 777 So.2d 591 (La.

  App. 4 Cir. 12/20/00) (finding no probable cause when an officer did not observe anything

  amounting to a willful obstruction). This case law is supported by Judge Bouillion’s

  pronouncement, as alleged in the FAC, which was common knowledge to officers in Lafayette,

  that there can be no violation of the obstruction of a public passage “when vehicles or persons can

  traverse the road.” (FAC ¶¶ 7, 53).10

          In light of the above precedent, the facts alleged in the FAC show that no reasonable officer

  could conclude there was probable cause to arrest Ms. Fogleman-Laxey under the obstructing a

  public passage statute. The FAC alleges, as supported by pictures on pages 4, 17, and 19, that

  (i) her small BBQ pit was placed directly behind her parked vehicle; (ii) the pit was completely



  10
    This knowledge is based on information provided by a local officer whose identity Ms. Fogleman-Laxey has kept
  private to prevent retaliation by Defendants. (FAC ¶ 1 n.1).


                                                        14
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  out of the way of vehicle and pedestrian traffic; and (iii) numerous vehicles and persons easily

  traversed the street during the time her pit was allegedly obstructing a public passageway. (FAC ¶

  43). The FAC explains that—at the start of the BBQ Protest and mere moments before

  Ms. Fogleman-Laxey’s arrest—both Lt. Cartens and Carlos Harvin (an agent of the Lafayette

  Consolidated Government (“LCG”), including the Lafayette Police Department and Mayor)

  agreed that Ms. Fogleman-Laxey’s BBQ Protest was legal and not a violation of any law. (FAC

  ¶¶ 47, 51). Indeed, nowhere do the facts suggest that Ms. Fogleman-Laxey or her BBQ pit

  obstructed any passageway in any way whatsoever before or at the time of arrest.

           The FAC also explained that the arrest was made on the direct order of Chief Morgan, who

  was not on the scene, in retaliation for her constitutionally protected speech. (FAC ¶ 48). Since

  Ms. Fogleman-Laxey made this allegation in the FAC, newly produced evidence confirms that

  allegation the FAC—namely, Ms. Fogleman-Laxey was arrested based on Chief Morgan’s direct

  order (and not based on what the officers perceived on the scene):11, 12




           Chief Morgan, in a press conference after Ms. Fogleman-Laxey’s arrest, confirmed that

  she was not arrested for obstructing a public passage, stating she was arrested because “the

  roadway is not a place for BBQ pits and hanging out on tailgates and things like that . . . you wanna

  put em on the sidewalk, you can’t come hang out in front of people’s houses and do those types of

  things.” (FAC ¶ 59) (quoting KATC News, Guillory on protests: “Lafayette is under control,”


  11
     A court may consider material outside the complaint if the materials “are referred to in the plaintiff's complaint and
  are central to her claim.” Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498–99 (5th Cir. 2000); see Lovelace
  v. Software Spectrum, Inc., 78 F.3d 1015, 1017–18 (5th Cir.1996) (finding court can consider SEC filings not attached
  to the complaint when determining whether plaintiff states a valid securities fraud claim).
  12
     Supplemental Statement of Sgt. Corey Menard (8/29/20).


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  KATC (Aug. 29, 2020)). Of note, Ms. Fogleman-Laxey and another protestor offered to move the

  BBQ pit to other locations, including the back of her truck and sidewalk, but the police officers

  refused to allow it. (FAC ¶ 51, FB Live Video at 13:00 and 14:15-14:55).

           The Report rejects these well-pleaded facts by concluding that there was probable cause

  for the arrest under the obstruction of a public passage because a “total obstruction of passage is

  not required for arrest under La. R.S 14:100.1.” (Report at 29). The Report, however, ignores that

  in every single case cited in support of the contention that “total obstruction . . . is not required”

  there was at least some observable obstruction.13 While it may be true that total obstruction of a

  passageway is not required for arrest, none of the cases cited by the Report support a finding of

  probable cause when no obstruction occurs—which is exactly what happened in this case.

           The Report further considers “the historical factual background that existed at that time”

  to conclude that there was a “probability or substantial chance of a violation of La. R.S. 14:100.1.”

  (Report at 29-30). The Report fails to support that proposition. Nevertheless, mere possibility of

  future violation does not amount to probable cause. See Jones v. Parmley, 465 F. 3d 46, 56 (2d

  Cir. 2006) (finding, based on U.S. Supreme Court precedent, that the “police may not interfere

  with orderly, nonviolent protests merely because they disagree with the content of speech or

  because they simply fear possible disorder” (emphasis added)).

           Accordingly, based on the facts as alleged in the FAC and applicable case law, no

  reasonable officer could have concluded at the time of arrest that Ms. Fogleman-Laxey had

  violated (or was in the process of violating) La. R.S 14:100.1. And, at the time of arrest, the right




  13
    United States v. Williams, 2016 WL 6469300 (M.D. La. 2016) (vehicle backing into driveway); State v. Kinard,
  105 So.3d 974, 975 (La. App. 5 Cir. 11/27/12) (presence of vehicle in the middle of the street); State v. White, 2010
  WL 2179723 (La. App. 3 Cir. 6/2/10) (defendant leaning into an illegally parked vehicle); State v. Thomas, 829 So.2d
  1137 (La. App. 3 Cir. 10/30/02) (truck idling in the street with passenger door open); Louisiana v. Barnard, 847 So.2d
  99 (La.App.2 Cir. 5/14/03) (stopping in the middle of the street to let passengers out).


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  to be free from arrest absent probable cause was clearly established. As such, Lt. Carstens is not

  entitled to qualified immunity.

                    b.       The allegations in the FAC show that Lt. Carstens did not have probable
                             cause to arrest Ms. Fogleman-Laxey for violating La. R.S. 14:103 because no
                             objectively reasonable officer could have concluded that Ms. Fogleman-Laxey
                             disturbed the peace.

           The disturbing the peace statute prohibits certain activities that would “foreseeably disturb

  or alarm the public,” including “[a]ddressing any offensive, derisive, or annoying words to any

  other person who is lawfully in any street, or other public place; or call[ing] him by any offensive

  or derisive name, or mak[ing] any noise or exclamation in his presence and hearing with the intent

  [to] deride, offend, or annoy him, or to prevent him from pursuing his lawful business, occupation,

  or duty,” or “[h]olding of any unlawful assembly.” La. R.S. 14:103(A)(2), (5). Binding precedent

  has clearly established that, in order for this statute to apply, there must be a specific intent to

  deride, offend, or annoy another person and the conduct must be violent or boisterous in itself or

  provocative in the sense that it induces a foreseeable physical disturbance. For example, in Garner

  v. State, a student at Southern University and six of her colleagues were charged with disturbing

  the peace under La. R.S. 14:103 when they sat at a lunch counter reserved for white patrons.

  368 U.S. 157, 160 (1961). In holding that the evidence was insufficient to support that defendant

  had disturbed the peace, the Court held that the statute encompasses “only conduct which is violent

  or boisterous in itself, or which is provocative in the sense that it induces a foreseeable physical

  disturbance.”14 Id. at 167. In State v. Woolverton, an appellate court in Louisiana clarified that

  because “the First and Fourteenth Amendments to the U.S. Constitution require great care in the



  14
    Many Louisiana cases accept the Garner interpretation that the statute encompasses “only conduct which is violent
  or boisterous in itself, or which is provocative in the sense that it induces a foreseeable physical disturbance.” See
  State v. Heck, 307 So.2d 332 (La. 1975); State v. Jordan, 369 So.2d 1347, 1350 (La.1979); State v. Lindsay, 388 So.2d
  781 (La. 1980); State v. Champagne, 520 So.2d 447 (La. App. 5th Cir. 1988); Craig v. Carter, 718 So.2d 1068 (La.
  App. 2d Cir. 1998); State v. Chauvin, 945 So.2d 752 (La. App. 5th Cir. 2006).


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  regulation of speech[,] [o]nly ‘fighting words-those which by their very utterance inflict injury and

  tend to incite an immediate breach of the peace,’ are punishable.” State v. Woolverton, 474 So. 2d

  1003, 1004 (La. App. 5th Cir. 1985) (quoting White v. Morris, 345 So.2d 461 (La.1977)). In

  Woolverton, the appellate court held there was no case to arrest the defendant under the disturbing

  the peace statute, even though the defendant raised his voice at the officers and he failed to heed

  the officers’ request to quiet down. Id. at 1006.

         In light of this precedent and under the facts alleged in the FAC, there was no probable

  cause to arrest Ms. Fogleman-Laxey for disturbing the peace when she engaged in the peaceful

  BBQ Protest. As a starting point, no party disputes that the BBQ Protest was peaceful or that no

  permit was required for the BBQ Protest. Here, Ms. Fogleman-Laxey peacefully grilled hotdogs

  and hamburgers along with two other protestors and Carlos Harvin (an agent of the LCG and

  Mayor). (FAC ¶ 47). She did not seek to be violent, boisterous, or provocative. Instead, as alleged

  in the FAC, Ms. Fogleman-Laxey sought to be peaceful and respectful, stating “it is important that

  we handle things in peace,” “we come in peace,” and “we are not here to be radical or noisy.”

  (FAC ¶ 45).

         Nevertheless, the Report rejects precedent and the FAC’s well-pleaded allegations in

  concluding that there was probable cause for the arrest under the statute because it was

  “foreseeable that the Mayor’s family would be disturbed by any member of the growing group

  immediately in front of their home (virtually or otherwise) making any noise or exclamation in

  their presence and hearing with the intent of annoying them.” (Report at 30). But, again, there is

  no evidence to support such an allegation and, even if there was, this assertion falls short of

  punishable conduct under the statute. The Report compares State v. Stowe to State v. Lindsay to

  support its probable cause finding, but little explanation is provided. (Report at 30). In Stowe, the




                                                      18
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  defendant was visibly intoxicated and walking down the middle of a public highway with a severe

  injury, resulting in a highway traffic jam; the court found that this “foreseeably disturbed or

  alarmed the public.” 635 So.2d 168, 172 n.3 (La. 1994). Comparatively, in Lindsay, the court

  found no probable cause to arrest the defendant who was visibly intoxicated on his own property

  when he verbally confronted and shouted obscenities at officers who came to the property to

  investigate a reported domestic disturbance. 388 So.2d 781, 782-83 (La. 1980). Neither Stowe nor

  Lindsay, however, are analogous to Ms. Fogleman-Laxey’s case because she was not intoxicated,

  shouting, or causing a traffic jam.

         Accordingly, based on the facts as alleged in the FAC and applicable case law, no

  reasonable officer could have concluded at the time of arrest that Ms. Fogleman-Laxey was

  disturbing the peace. And, at the time of arrest, the right to be free from arrest absent probable

  cause was clearly established. As such, Lt. Carstens is not entitled to qualified immunity.

                 c.      The Report disregards the FAC’s well-pleaded allegations and instead
                         applies an improper totality of the circumstances analysis to reach the
                         incorrect conclusion that Lt. Carstens had probable cause to arrest Ms.
                         Fogelman-Laxey under either statute.

         As described above, the well-pleaded facts and case law make clear that there was no

  probable cause to arrest Ms. Fogelman-Laxey under either statute. Nevertheless, the Report relies

  on inapposite law and irrelevant, non-pleaded facts to support its probable cause finding. Although

  courts “examine the totality of the circumstances” when determining whether there was probable

  cause for an arrest, United States v. Powell, 732 F.3d 361, 372 (5th Cir. 2013), the Report adopts

  a broad and unbounded totality of the circumstances definition that considers “surrounding events”

  (such as the “varying degrees of unrest and even violence . . . on a nearly nationwide basis”) rather

  than focusing on the specific events at the scene leading up to the moment of Ms. Fogleman-

  Laxey’s arrest. (Report at 28-29).



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         Under binding precedent, the totality of the circumstances approach requires courts to

  consider the facts as a whole, rather than taking them one by one in a “divide-and-conquer”

  approach. District of Columbia v. Wesby, 138 S. Ct. 577, 588 (2018). In considering the totality of

  circumstances to determine probable cause, courts examine “the events leading up to the arrest”

  and focus on what a reasonable officer would have believed at the moment the arrest was made.

  U.S. v. Del Hierro-Vega, 760 F. App’x. 301, 304 (5th Cir. 2019). Such factors include the

  collective knowledge of all police involved in the investigation and whether the officer was forced

  to make a split-second decision. Evett, 330 F.3d at 688. The Fifth Circuit warns that considering

  the totality of the circumstances does not mean an officer may disregard facts tending to dissipate

  probable cause, such as the source of the information upon which probable cause is based. Id.

         The Report claims that the totality of the circumstances includes consideration of the

  surrounding events, public sentiment, and the air of unrest among citizens by citing Wesby and

  Flores v. City of Palacios. (Report at 29). These cases, however, do not support such a contention.

  In Wesby, the U.S. Supreme Court held the lower court erred by applying a “divide-and-conquer”

  analysis and viewing “each fact in isolation rather than as a factor in the totality of the

  circumstances.” 138 S. Ct. at 588. In that case, however, the lower court viewed the facts actually

  occurring at the scene of the crime in isolation of each other. Id. Nowhere does Wesby suggest that

  considering the “totality of the circumstances” reasonably includes the public sentiment generally

  or the alleged air of unrest amongst citizens, especially when neither is present at the scene of the

  arrest. (See Report at 29). Flores clarifies that courts must consider the facts occurring “at the

  moment of arrest” when assessing the totality of the circumstances. 381 F.3d 391, 402 (5th Cir.

  2004) (emphasis added). Here, nothing at the moment of arrest suggested that the peaceful BBQ

  Protest would be anything other than peaceful or would develop into a violent riot.




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         The approach taken in these cases contradicts the Report’s approach of placing emphasis

  on facts that occurred in another place and time, such as nationwide protests, or presumed facts

  about what might happen in the future—such as making assumptions about how Ms. Fogleman-

  Laxey’s peaceful (and mostly virtual) protest would develop. Furthermore, none of these facts

  were alleged in the FAC. And, just as important, in using this totality of the circumstances

  approach, the Report ignored facts tending to dissipate probable cause, as explained in § C(1)(a)-

  (b) above, including but not limited to (i) Lt. Carstens’ and Mr. Harvin’s statements that

  Ms. Fogleman-Laxey was not violating any laws in the events prior to or at the time of the arrest;

  (ii) Ms. Fogleman-Laxey’s attempts to comply with the officers vague requests;

  (iii) Ms. Fogleman-Laxey’s prior consulting with legal professionals regarding the lawfulness of

  her actions; (iv) the undisputed peaceful nature and lack of emergency at the protest; and (v) the

  lack of an obstruction. (FAC ¶¶ 39, 45, 47, 51).

         After properly assessing of the plain language of La. R.S. 14:100.1 and La. R.S. 14:103,

  reviewing the precedent relating to the interpretation of probable cause under each statute, and

  accepting Ms. Fogleman-Laxey’s well-pleaded facts, it is clear that Lt. Carstens violated

  Ms. Fogleman-Laxey’s Fourth Amendment right to be free of unreasonable search and seizure. At

  the very least, factual disputes remain making it impossible to rule definitively on probable cause

  at the motion to dismiss stage. As such, Lt. Carstens is not entitled to qualified immunity.

         2.      The allegations in the FAC show that Lt. Carstens arrested Ms. Fogleman-Laxey
                 in retaliation for Ms. Fogleman-Laxey’s constitutionally protected speech in
                 violation of the First Amendment.

         The First Amendment protects “the freedom of speech,” “the right of the people peaceably

  to assemble, and to petition the Government for a redress of grievances.” U.S. Const. amend. I.

  The right to be free from arrests in retaliation for protected speech is a clearly established right.




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  See Davidson, 848 F.3d at 391 (holding that protestors “are also protected under the First

  Amendment from retaliatory actions by government officials” unless “an officer has probable

  cause to seize that individual.”); Occupy Columbia v. Haley, 738 F. 3d 107, 124-25 (4th Cir. 2013)

  (holding that violation of First Amendment right of protestors is a “clearly established right” for

  purposes of defeating claim of qualified immunity, absent a valid time, place, and manner

  restriction).

          As explained above in § B, Ms. Fogleman-Laxey was engaged in First Amendment

  protected speech during the BBQ Protest, as she was protesting on a matter of public concern on

  a public street. No law prohibited her protest or required that a permit be issued prior to the protest.

  As such, the First Amendment fully protected her BBQ Protest. And, as explained above, that

  protection was not forfeited and there was no cause to arrest her under either statute because there

  was no probable cause to arrest Ms. Fogleman-Laxey, as Chief Morgan admitted when he ordered

  Lt. Carstens to arrest Ms. Fogleman-Laxey for “hang[ing] out in front of [Mayor’s] house[].” (See

  FAC ¶ 51). ). Chief Morgan’s admission underscores that Ms. Fogelman-Laxey was arrested in

  relation for her protected speech Thus, Lt. Carstens is not entitled to qualified immunity for

  arresting Ms. Fogleman-Laxey.

  D.      THE REPORT ERRED BY CONCLUDING THAT ALL CLAIMS AGAINST DA
          LANDRY SHOULD BE DISMISSED BECAUSE THE FAC ALLEGES
          SUFFICIENT FACTS TO DEFEAT ABSOLUTE IMMUNITY AND ESTABLISH
          MONELL LABILITY UNDER A DE FACTO POLICY OR PRACTICE.

          The Report erred in two respects in connection with the claims against DA Landry. First,

  the Report recommended the dismissal of the claims against DA Landry in his individual capacity,

  finding that absolute immunity nullified the claims. As explained below and in the Opposition to

  MTD, absolute immunity does not attach to DA Landry because he circumvented established

  prosecutorial procedures and acted without color of authority. Second, the Report recommends the



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  dismissal of the Monell claim against the Office of the District Attorney. However, the FAC pleads

  sufficient facts to establish a de facto policy or practice of prosecution in retaliation for protected

  political speech, as well as DA Landry’s role as the final policymaker in bringing the misdemeanor

  charges.

         1.      The Report erred in finding that DA Landry is entitled to absolute prosecutorial
                 immunity because DA Landry circumvented established procedures by bringing
                 charges in the Fifteenth Judicial District Court.

         The Report errs by recommending the dismissal of all claims against DA Landry based on

  absolute prosecutorial immunity. (Report at 23-24). Absolute immunity, however, only attaches

  when a prosecutor “act[s] within the scope of his duties in initiating and pursuing a criminal

  prosecution.” Imbler v. Pachtman, 424 U.S. 409, 410 (1976). When a prosecutor performs

  “functions other than their quasi-judicial functions of initiating prosecutions and presenting the

  State’s case,” or takes actions to “intentionally avoid[] the judicial process,” absolute immunity

  does not attach. Singleton v. Cannizzaro, 956 F.3d 773, 780, 784 (5th Cir. 2020) (cleaned up)

  (holding that by using fake subpoenas, the defendants intentionally avoided the judicial process

  required by Louisiana law and, therefore, the creation and use of the fake subpoenas fell “outside

  the judicial process”).

         Under controlling precedent, and pivotal to this case, courts are to take “a ‘functional

  approach’ to absolute immunity that ‘emphasize[s] that the official seeking absolute immunity

  bears the burden of showing that such immunity is justified for the function in question.’”

  Singleton, 956 F.3d at 779 (quoting Buckley v. Fitzsimmons, 509 U.S. 259, 273 (1993)). Under this

  approach, DA Landry has to show that his actions were taken in preparation “for the initiation of




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  judicial proceedings or for trial, and which occur in the course of [his] role as an advocate for the

  State.” Id. (quoting Buckley v. Fitzsimmons, 509 U.S. 259, 273 (1993)).15

          As noted in the Opposition to MTD, DA Landry is not entitled to absolute immunity for

  two reasons. First, DA Landry’s actions fell outside the judicial process and his role as an advocate

  for the State when he failed to follow established procedures and brought misdemeanor charges

  against Ms. Fogleman-Laxey in the 15th Judicial District Court, actions that are: (a) within the

  purview of the City-Parish Prosecutor not the District Attorney; and (b) should be pursued in city

  courts not district courts.16 (See Opposition to MTD at 19). Thus, DA Landry acted “without color

  of authority,” and is unable to meet his “burden of showing that such immunity is justified for the

  function in question.” (Id. at 18). Not only were DA Landry’s actions taken outside of normal

  procedures, they were not taken at the time of Ms. Fogleman-Laxey’s unlawful detention, but

  rather five months later—the day after Ms. Fogleman-Laxey again exercised her First Amendment

  rights during an Acadiana Patriots public meeting on January 28, 2021. (FAC at 29-30).

          DA Landry’s actions here are similar to those reviewed in Snell v. Tunnell, where the court

  concluded there was no absolute immunity. In Snell v. Tunnell, the court considered whether

  absolute immunity should attach to a state attorney who, contrary to established procedures

  requiring action by the police or district attorney, circumvented the process by directly filing an

  application for conditional protective custody over children with the district court. 920 F.2d 673,

  693-95 (10th Circuit 1990). The Snell court found that such action was not entitled to absolute

  prosecutorial immunity because: (i) the “normal procedure” required that the type of applications

  at issue be handled by either the police or the district attorney (the statutory scheme was “not


  15
     DA Landry’s five-month delay in bringing charges violated the Louisiana speedy trial provision, which required
  the filing of formal charges within ninety days. See La. Code Crim. P. Art 701(B)(2).
  16
     The Lafayette Parish Clerk of Court website makes clear that “[m]isdemeanor charges are handled in the municipal
  courts.” See City-Parish Clerk of Court, 15th Judicial District, https://www2.lpclerk.com/departments/criminal.cfm.


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  entirely clear,” and allowed a DHS attorney to submit such an application in other situations);

  (ii) the pertinent statutory scheme had not “envision[ed] an end-run by DHS to override the

  prosecutorial discretion exercised by the offices of the [DA];” and (iii) the “purpose of absolute

  immunity would [have been] ill-served by granting it in cases when the defendant acts without

  colorable authority.” Id. at 695-96.

           The same reasoning applies here because DA Landry acted outside normal prosecutorial

  authority and procedure. As in Snell, DA Landry sidestepped the normal procedures governing

  misdemeanor charges such as obstruction of a public passage and disturbing the peace, which are

  usually within the authority of the city prosecutor, not the district attorney. See City-Parish Clerk

  of    Court,     15th     Judicial     District,     https://www2.lpclerk.com/departments/criminal.cfm,

  (“Misdemeanor charges are handled in the municipal courts, if such occurrence is within their city

  limits[.]”). As noted in the Opposition to MTD, charges of obstruction of a public passage and

  disturbing the peace have been brought in Lafayette City Court in past cases, but that was not done

  here. (Opposition to MTD at 19).

           Second, DA Landry, by admission of his office17 lacks the authority to prosecute

  misdemeanor traffic offenses where the arresting agency is the police. (Opposition to MTD at 20).

  Even if he could prosecute such an offense, the misdemeanor charges must be prosecuted in city

  court because they occurred within Lafayette City limits. See Lafayette Parish Clerk of Court

  website at https://www2.lpclerk.com/departments/criminal.cfm. Here, the Police arrested

  Ms. Fogleman-Laxey for a misdemeanor (and later added another) within the Lafayette City limits.

  (FAC ¶¶ 50-54). Both misdemeanors were traffic-related misdemeanors. Id. As such, DA Landry



  17
         See      District   Attorney     for    the      15th     Judicial   Court,   Traffic    Tickets     webpage,
  http://districtattorney15thjdc.org/prosecution/traffic-tickets/ (“Lafayette City Court prosecutes traffic tickets and
  misdemeanor traffic crimes investigated by the . . . Lafayette City Police Department.”).


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  had no authority to prosecute Ms. Fogleman-Laxey or to bring these charges the 15th Judicial

  District Court. (Opposition to MTD at 20); see La. Rev. Stat. §§ 14.100.1 (criminalizing, among

  other things, obstructing a public sidewalk or street); 14:103 (criminalizing, among other things,

  speech or an unlawful assembly on a street).

         The Report recognized these shortcomings but nonetheless excuses DA Landry for

  overstepping his authority and pursuing charges in an improper manner by citing the “broad

  discretion regarding criminal prosecutions” found in the Louisiana Constitution Art. 5, Sec. 26;

  La. C. Cr. P. 61; and La. R. S. 16:1(B). (Report at 23). This justification is circular. (Opposition to

  MTD at 20-21). These constitutional, statutory, and procedural provisions only protect authorized

  acts. The problem is that DA Landry acted in an unauthorized manner: he usurped the City-Parish

  Prosecutor’s authority to charge and prosecute misdemeanor traffic violations and bypassed the

  correct forum when he chose to not prosecute in municipal court. (Opposition to MTD at 21). The

  Report also ignores that the charges were filed in retaliation against Ms. Foglemna-Laxey at the

  behest of the Mayor—i.e., filed a single day after she exercised her right to free speech in January

  of 2021 during a meeting where she questioned the Mayor’s COVID-19 policy. (FAC ¶¶ 15, 80).

         At bottom, DA Landry acted without color of authority and improperly took over the City

  Prosecutor’s authority and discretion when he decided to bring charges and prosecute

  Ms. Fogleman-Laxey in the 15th Judicial District Court. Accordingly, DA Landry is not entitled

  to absolute prosecutorial immunity.

         2.      The Report erred in finding no Monell claim against the DA’s Office.
         Ms. Fogleman-Laxey further objects to the finding that she has not sufficiently alleged a

  Monell claim against DA Landry. As explained in the FAC, DA Landry—the final decision-maker

  with respect to criminal offenses in the 15th Judicial District of Louisiana—filed formal charges

  against Ms. Fogleman-Laxey because she exercised her constitutionally-protected rights near the


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  Mayor’s house during the BBQ protest and/or during the Acadiana Patriots meeting. (FAC ¶ 167).

          To establish liability under Monell, Ms. Fogleman-Laxey must demonstrate (1) the

  deprivation of a federally-protected right whose “moving force” is (2) an official policy (or

  custom) (3) of which a policymaker can be charged with actual or constructive knowledge.

  Piotrowski v. City of Houston, 237 F. 3d 567, 578 (5th Cir. 2001). The FAC shows all three

  elements are present in this case. First, with respect to the first prong, and as addressed more fully

  above, Ms. Fogleman-Laxey has successfully demonstrated that she was engaged in

  constitutionally protected conduct during the BBQ Protest and when she questioned the Mayor

  about his COVID-19 polices at a public meeting of the Acadiana Patriots group on January 28,

  2021.

          Second, with respect to the second prong, there are five types of “official policies” that

  satisfy the Monell standard: (1) formal policies; (2) de facto policies; (3) failure to train and/or

  failure to supervise; (4) single decision by a final policymaker; and (5) ratification of a

  subordinate’s unconstitutional act. Monell, 436 U.S. at 694; Pembaur v. City of Cincinnati,

  475 U.S. 469, 480 (1986). Ms. Fogleman-Laxey has successfully pleaded that a single decision—

  i.e., the decision to file charges against her for obstructing a public passageway and disturbing the

  peace—by a final policymaker—i.e., DA Landry—constitutes an “official policy” for purposes of

  the Monell standard for municipal liability. (FAC ¶ 167). DA Landry is authorized to decide the

  goals with respect to prosecution of alleged crimes in the 15th Judicial District of Louisiana and

  is authorized to devise the means of achieving those goals. See La. Cr. P. § 61; Webb v. Town of

  Saint Joseph, 925 F.3d 209 (5th Cir. 2019).

          Not only is DA Landry the “final policymaker” with respect to the unlawful action at issue,

  his decision to prosecute Ms. Fogleman-Laxey satisfies the standards for single decisions that




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  constitute “official policies” under Monell. In Board of Commissioners of Bryan County v. Brown,

  the U.S. Supreme Court addressed when liability attaches for a policymaker’s single decision. The

  Court made clear that, when “seeking to establish municipal liability on the theory that a facially

  lawful municipal action . . . has led an employee to violate a plaintiff’s rights[,] [the plaintiff] must

  demonstrate that the municipal action was not simply negligent, but was taken with ‘deliberate

  indifference’ as to its known or obvious consequences.” 520 U.S. 397, 407 (1997). Applying that

  standard here, Ms. Fogleman-Laxey has successfully demonstrated that DA Landry’s decision to

  file charges against her, even if it was a facially lawful act, ultimately violated her constitutionally-

  protected rights. Specifically, as explained in the FAC, Ms. Fogleman-Laxey received no word

  about her arrest for nearly five months after the arrest, until the day after her interaction with the

  Mayor at the Acadiana Patriots group public meeting. (FAC ¶¶ 78-80). It is no coincidence that

  DA Landry formally filed charges against Ms. Fogleman-Laxey the very next day. (FAC ¶ 81).

  He filed the charges for no other reason than the Mayor had had enough of Ms. Fogelman-Laxey.

          As the chief prosecutor for the 15th Judicial District of Louisiana, DA Landry acted with

  deliberate indifference towards the known or obvious consequences of the filing of formal charges

  against Ms. Fogleman-Laxey for alleged violations that did not take place. The fact that the charges

  against Ms. Fogleman-Laxey were dropped at a hearing scheduled a mere 11 days after the charges

  were filed is highly indicative of the fact that DA Landry lacked any basis on which to successfully

  prosecute Ms. Fogleman-Laxey. Moreover, DA Landry’s actions taken after the Acadiana Patriot’s

  meeting are the result of pressure/insistence from the Mayor and an attempt to scare, harass, shame,

  and intimidate Ms. Fogleman-Laxey into silence and to prevent her and others from exercising

  their constitutionally-protected rights.

          Third, with respect to the third prong, it is clear that the “official policy” at issue is a single




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  decision by DA Landry, as he is the final policymaker with respect to prosecution of criminal

  offenses in the City-Parish of Lafayette, he not only knew of said policy but also authored it.

           Accordingly, Ms. Fogleman-Laxey sufficiently pleads a Monell claim against DA Landry

  for retaliating against her for engaging in protected speech at her peaceful BBQ Protest and at the

  Acadiana Patriot’s group public meeting on January 28, 2021. Moreover, the FAC sufficiently

  pleads and supports a finding on a motion to dismiss that the DA has and follows a de facto policy

  prosecuting arrests made without probable cause and in retaliation for exercising free speech. 18

  (Opposition to MTD at 22). Thus, the Court should not adopt the Report’s decision to dismiss the

  Monell claims.

                                                III. CONCLUSION

           For the reasons stated above, Ms. Fogleman-Laxey respectfully requests that this Court

  decline to adopt the Report’s granting of (1) District Attorney Donald Landry’s (“DA Landry”)

  motion to dismiss all federal and state claims against him in his individual and official capacities,

  including those for which the federal court exercises supplemental jurisdiction, and (2) Lieutenant

  Lisa Carstens’ (“Lt. Carstens”) motion to dismiss all claims brought against her in her individual

  capacity. This Court should accordingly deny the motions to dismiss filed by DA Landry

  (Dkt. No. 40) and Lt. Carstens (Dkt. No. 41).




  18
     Ms. Fogleman-Laxey sufficiently pleads a de facto policy and custom of prosecuting arrests made without probable
  cause and in retaliation for the exercise of constitutionally protected rights. (See FAC ¶ 91; Opposition to MTD at
  22). Ms. Fogleman-Laxey cited at least one other instance known to her where DA Landry pursued a baseless
  prosecution over an individual who made a satirical post on Facebook. (FAC ¶ 91; Opposition to MTD at 22 n.13).
  The Report improperly narrows the de facto policy she alleges as a “history of participating in the use of prosecutions
  to charge otherwise peaceful protestors.” (Report at 25-26). As noted above, Ms. Fogleman-Laxey alleges the DA has
  a de facto practice of pursuing prosecution in retaliation for the exercise of free speech, which includes retaliation
  against peaceful protests, public statements through news interviews and social media, Facebook posts, and appearing
  at public forums to question government officials.


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        Dated: July 29, 2022
                                            Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

         I do hereby certify that on July 29, 2022, I electronically filed the foregoing with the

  Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to all

  participating counsel of record.

                                                               /s/ Fabio Dworschak
                                                               Fabio C. Dworschak




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